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                                                            Asset Cases
Case No.:    19-07235                                                                           Trustee Name:      (620290) Jeanne Ann Burton
Case Name:         CUMMINGS MANOOKIAN, PLLC                                                     Date Filed (f) or Converted (c): 11/06/2019 (f)
                                                                                                § 341(a) Meeting Date:       12/02/2019
For Period Ending:         03/31/2025                                                           Claims Bar Date:      04/01/2020

                                       1                                  2                    3                      4                    5                   6

                           Asset Description                           Petition/       Estimated Net Value     Property Formally     Sale/Funds           Asset Fully
                (Scheduled And Unscheduled (u) Property)             Unscheduled      (Value Determined By        Abandoned        Received by the     Administered (FA)/
                                                                        Values               Trustee,             OA=§554(a)           Estate           Gross Value of
                                                                                     Less Liens, Exemptions,       abandon.                            Remaining Assets
  Ref. #                                                                                and Other Costs)

   1*       Accounts Receivable (See Footnote)                          70,000.00             1,449,675.92                                49,673.92          1,400,002.00

    2       Office Equipment/ Furn (Debtor does not                           0.00                      0.00                                   0.00                         FA
            own any)

   3*       Costs due in various cases                                   Unknown                   19,876.28                              19,873.28                    3.00
            There are cases where costs have been advanced in
            lawsuits contingent upon cases being successfully
            resolved but are presently unrealized due to the cases
            being pending without resolution.
              (See Footnote)

    4       void - asset duplicate of asset #1 and #3                         0.00                      0.00                                   0.00                         FA

    5       void - asset duplicate of asset #1 and #3                         0.00                      0.00                                   0.00                         FA

    6       void - asset duplicate of asset #1 and #3                         0.00                      0.00                                   0.00                         FA

    7       void - asset duplicate of asset #1 and #3                         0.00                      0.00                                   0.00                         FA

    8       void - asset duplicate of asset #1 and #3                         0.00                      0.00                                   0.00                         FA

    9       void - asset duplicate of asset #1 and #3                         0.00                      0.00                                   0.00                         FA

   10       void - asset duplicate of asset #1 and #3                         0.00                      0.00                                   0.00                         FA

   11       void - asset duplicate of asset #1 and #3                         0.00                      0.00                                   0.00                         FA

   12       void - asset duplicate of asset #1 and #3                         0.00                      0.00                                   0.00                         FA

   13       void - asset duplicate of asset #1 and #3                         0.00                      0.00                                   0.00                         FA

   14        Preference DE #56 Agreed Order -                                 0.00                 23,637.22                              23,637.22                         FA
            collection of A/R Case ThSi (u)
            03/11/20-Agreed Order for turnover - docket #56

   15       void - asset duplicate of asset #1 and #3                         0.00                      0.00                                   0.00                         FA

   16       void - asset duplicate of asset #1 and #3                         0.00                      0.00                                   0.00                         FA

   17       void - asset duplicate of asset #1 and #3                         0.00                      0.00                                   0.00                         FA

   18       void - asset duplicate of asset #1 and #3                         0.00                      0.00                                   0.00                         FA

   19       A/R Case West MDL Settlement (u)                              3,739.85                  3,739.85                               3,739.85                         FA
            Fees/Costs for confidential case


  19        Assets Totals (Excluding unknown values)                   $73,739.85            $1,496,929.27                             $96,924.27          $1,400,005.00




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                                                     Asset Cases
Case No.:   19-07235                                                              Trustee Name:      (620290) Jeanne Ann Burton
Case Name:     CUMMINGS MANOOKIAN, PLLC                                           Date Filed (f) or Converted (c): 11/06/2019 (f)
                                                                                  § 341(a) Meeting Date:    12/02/2019
For Period Ending:     03/31/2025                                                 Claims Bar Date:     04/01/2020
     RE PROP# 1          A/R Case MiVa - Action was settled. Settlement amount is confidential and Trustee does not yet know amount of settlement.
                         The amount of attorney fees to which Debtor is entitled has not yet been determined. Adversary proceeding 320-ap-90002
                         seeks to determine amount due to Debtor and is pending but not yet resolved. Accordingly, Trustee has shown a value of
                         $1.00 to indicate the asset is being administered.
                         The defendants filed a motion to recuse Judge Walker, which was denied and an appeal was filed in the District Court. After
                         the District Court affirmed the order of the Bankruptcy Court, the defendants appealed to the USCA. The appeal was denied.
                         A PTC is sent for 4/23/25 in Bankruptcy Court.

                         A/R Case ShVa - Action was settled. Settlement amount is confidential and Trustee does not yet know amount of
                         settlement. The amount of attorney fees to which Debtor is entitled has not yet been determined. Adversary proceeding
                         320-ap-90002 seeks to determine amount due to Debtor and is pending but not yet resolved. Accordingly, Trustee has
                         shown a value of $1.00 to indicate the asset is being administered.
                         In Adversary 323-ap-90036 B. Cummings seeks determination of his attorney fees in this case. A. Hagh filed a motion to
                         dismiss the Adversary which was denied and the matter is on appeal to the District Court and now to the USCA.

                         A/R Case FiOs: case settled. Adversary 320-ap-90002 pending re dispute as to entitlement of fees. $715,000.00 of the fees
                         ordered in escrow with Court.
                         The defendants filed a motion to recuse Judge Walker, which was denied and an appeal was filed in the District Court. After
                         the District Court affirmed the order of the Bankruptcy Court, the defendants appealed to the USCA. The appeal was denied.
                         A PTC is sent for 4/23/25 in Bankruptcy Court.

                         Collected:
                          A/R Case RuAr: $11,111.11
                          A/R Case BaHc: $11,265.54
                          A/R Case WaMo: $ 8,165.85
                          A/R Case KnRi: $19,131.42

                         A/R Case BaHu - CM will not receive fees in this case.
                         A/R Case BeLb - CM will not receive fees in this case.
                         A/R Case BrRe - CM will not receive fees in this case.
                         A/R Case DyVa - CM will not receive fees in this case.
                         A/R Case SaRo - CM will not receive fees in this case.
                         A/R Case WhPa - CM will not receive fees in this case.
                         A/R Case WoMi - CM will not receive fees in this case.




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                                                     Asset Cases
Case No.:   19-07235                                                               Trustee Name:      (620290) Jeanne Ann Burton
Case Name:     CUMMINGS MANOOKIAN, PLLC                                            Date Filed (f) or Converted (c): 11/06/2019 (f)
                                                                                   § 341(a) Meeting Date:    12/02/2019
For Period Ending:     03/31/2025                                                  Claims Bar Date:     04/01/2020
     RE PROP# 3          A/R Case MiVa - Action was settled. Settlement amount is confidential and Trustee does not yet know amount of settlement.
                         The amount of attorney fees and costs to which Debtor is entitled has not yet been determined. Adversary proceeding 320-
                         ap-90002 seeks to determine amount due to Debtor and is pending but not yet resolved. Accordingly, Trustee has shown a
                         value of $1.00 to indicate the asset is being administered.
                         The defendants filed a motion to recuse Judge Walker, which was denied and an appeal was filed in the District Court. After
                         the District Court affirmed the order of the Bankruptcy Court, the defendants appealed to the USCA. The appeal was denied.
                         A PTC is sent for 4/23/25 in Bankruptcy Court.

                         A/R Case ShVa - Action was settled. Settlement amount is confidential and Trustee does not yet know amount of
                         settlement. The amount of attorney fees and costs to which Debtor is entitled has not yet been determined. Adversary
                         proceeding 320-ap-90002 seeks to determine amount due to Debtor and is pending but not yet resolved. Accordingly,
                         Trustee has shown a value of $1.00 to indicate the asset is being administered.
                         In Adversary 323-ap-90036 B. Cummings seeks determination of his attorney fees in this case. A. Hagh filed a motion to
                         dismiss the Adversary which was denied and the matter is on appeal to the District Court and now the USCA.

                         A/R Case FiOs: case settled. Adversary 320-ap-90002 pending re dispute as to entitlement of fees and costs. $715,000.00
                         of the fees ordered in escrow with Court.
                         The defendants filed a motion to recuse Judge Walker, which was denied and an appeal was filed in the District Court. After
                         the District Court affirmed the order of the Bankruptcy Court, the defendants appealed to the USCA. The appeal was denied.
                         A PTC is sent for 4/23/25 in Bankruptcy Court.


                         Collections
                          A/R Case RuAr: $17,773.47
                          A/R Case BaHC: $415.10
                          A/R Case WaMo: $1,530.00
                          A/R Case KnRI: $154.71



                         A/R Case BaHu - CM will not receive costs in this case.
                         A/R Case BeLb - CM will not receive costs in this case.
                         A/R Case BrRe - CM will not receive costs in this case.
                         A/R Case DyVa - CM will not receive costs in this case.
                         A/R Case SaRo - CM will not receive costs in this case.
                         A/R Case WhPa - CM will not receive costs in this case.
                         A/R Case WoMi - CM will not receive costs in this case.




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                                                     Asset Cases
Case No.:   19-07235                                                     Trustee Name:      (620290) Jeanne Ann Burton
Case Name:     CUMMINGS MANOOKIAN, PLLC                                  Date Filed (f) or Converted (c): 11/06/2019 (f)
                                                                         § 341(a) Meeting Date:    12/02/2019
For Period Ending:     03/31/2025                                        Claims Bar Date:     04/01/2020


Major Activities Affecting Case Closing:

                     schedules are at DE 1,7,9 and 10
                     11/18/19-motion to employ P. Young filed
                     12/02/19- documents requested at the moc
                     12/03/19 e-mail to J. Lefkovitz re bank statements and credit card statements and documents requested at
                     moc
                     12/09/19-objection to motion to employ P. Young filed; hearing is 12/17/19
                     12/10/19 attend hearing on TRO against Hagh Law in Lawrenceburg
                     12/11/19 review proposed TRO order
                     12/11/19 discuss witness and exhibit list with P. Young for motion to employ special counsel
                     12/13/19 t/c John Konvilinka re appeal-his name was given to me by debtor's counsel;e-mail to debtor's
                     counsel re supplying info
                     12/13/19 t/c Charles Malone at Butler Snow re appeal-he represents the appellees
                     12/17/19 hearing on Motion to employ special counsel- court took matter under advisement
                     12/20/19-order re: TE app to employ special counsel gives the TE until 12/24/19 to file supp. app and more
                     info
                     12/21/19-supplement to app. of TE to employ special counsel filed
                     12/23/19-order granting application to employ Thompson Burton PLLC entered
                     12/23/19-B. Manookian filed request for leave to respond in opposition and objection to app. to employ
                     Thompson Burton PLLC
                     12/23/19-prep of suggestion of bk in Ct. of Appeals
                     12/26/19-order denying B. Manookian request for leave to respond entered
                     01/02/20-prep of suggestion of bk in Circuit Ct (mail)
                     01/02/20-send demand letter to A. Hagh (to d/m case against Debtor)-reg and cert. mail
                     01/02/20-file asset notice; last day to file claims is 4/1/2020
                     01/03/20- review order from COA re oral arguument
                     01/08/20-adversary complaint filed
                     01/08/20-expedited motion/order for turnover of funds filed
                     01/09/2020-order setting hearing on motion for turnover of funds entered, deadline to object to the relief is
                     1/14/2020 at 4pm; hearing is scheduled for 1/15/2020 at 1:30pm
                     01/14/20-objection to expedited motion for turnover filed
                     01/14/20-NOA filed by John Spragens-attorney for Hagh Law
                     01/14/20-Plaintiff's reply to objection of Hagh Law PLLC filed
                     01/15/20-Hagh Law filed motion to strike Plaintiff's reply to objection
                     01/15/20-summons and notice of pretrial -pretrial is 3/10/20
                     01/15/20 attend hearing on motion for turnover of funds
                     01/16/20-order entered for turnover of funds-funds to be deposited with Bk Court Clerk by 11:59 pm 1/21/20;
                     final hearing will be 2/5/20
                     01/17/20 review order re turnover of funds and setting final hearing
                     01/28/20-review poc filed by Grant Konvlinka-based on default judgment
                     01/28/20-motion to compel turnover of records filed; hearing is 2/11/20 (responses due by 2/7/20)
                     01/31/20-prep and file motion for sanctions for violation of automatic stay-Hagh Law/Afsoon Hagh
                     01/31/20-review NOA filed by Craig Gabbert (had returned earlier phone call)
                     02/03/20 -phone call with C. Gabbert, atty for Ms. Hagh and Hagh Law
                     02/03/20-hearing on motion for turnover of records rescheduled to 2/18/20
                     02/03/20-hearing on motion for sanctions is 2/18/20
                     02/06/20-order on expedited motion for turnover of funds submitted (Clerk to continue to hold the $715,000)
                     02/07/20-response to motion to compel filed by B. Mannokian and S. Lefkovitz
                     02/07/20-proposed a/o submitted re: complaint in Circuit Court dismissed and motion for sanctions is moot
                     02/11/20-hearing on motion to compel turnover of records continued to 3/3/20
                     02/24/20-motion for entry of default against defendants in adversary was filed
                     02/24/20-entry of default entered in the adversary
                     03/03/20-hearing on motion to compel continued to March 24, 2020
                     03/03/20-motion to continue pretrial conference in adversary to March 24, 2020 filed
                     03/04/20 consult with L. Williams re any requirement to file 2019 return-no requirement
                     03/10/20-agreed order for turnover of monies held by Receiver filed
            Case 3:19-bk-07235
                     03/13/20-prep ofDocmotion239      Filed
                                                to employ      04/24/25 Entered 04/24/25 19:29:43 Desc Main
                                                           Accountant
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                                                     Asset Cases
Case No.:   19-07235                                                      Trustee Name:      (620290) Jeanne Ann Burton
Case Name:     CUMMINGS MANOOKIAN, PLLC                                   Date Filed (f) or Converted (c): 11/06/2019 (f)
                                                                          § 341(a) Meeting Date:    12/02/2019
For Period Ending:     03/31/2025                                         Claims Bar Date:     04/01/2020

                     03/16/20 answers filed in adv proceeding; entry of default will be withdrawn
                     03/17/20 hearing on motion for turnover will be continued to 4/21/20; pretrial continued also
                     04/01/20 e-mail to D. Puryear re order for turnover of funds
                     04/07/20-file order to employ Accountant-had wrong effective date on it
                     04/07/20-filed amended order to employ Accountant
                     04/14/20-motion to continue hearing on motion to compel and adversary pretrial conference filed
                     04/15/20-order continuing hearings to May 19 at 10:15 am entered
                     04/25/20-motion to approve fee/expense division filed
                     05/15/20-motion to continue hearing on turnover of records and motion to continue pretrial in adv. filed
                     05/18/20-order to continue hearing on turnover and pretrial to June 30, 2020 entered
                     0518/20-objection to motion to approve fee and expense division filed; hearing is scheduled for 5/26/20 at 10
                     am
                     05/22/20-motion to cont. hearing on motion to approve fee/expense division filed; expedited order submitted
                     05/26/20-order to cont. hearing on motion to approve fee/expense division entered-hearing will be 6/9/20
                     06/09/20-order approving fee and expense division among Debtor and Cummings Law filed
                     06/29/20-motion and expedited order to continue hearing on motion to compel turnover filed
                     06/29/20-order to continue hearing entered; hearing is 8/18/20 at 10:15 am (Telephonic)
                     08/17/20-joint pretrial statement filed in adv. 20-90002
                     08/19/20-adv pretrial has been continued to 1/12/2021 at 10:15 am
                     08/19/20-order compelling turnover of documents entered
                     09/03/20-review e-mail and phone call with P. Young re document production
                     09/28/20- follow up with P. Young re documents and written discovery
                     10/30/20-prep of notice of status of bk case to be filed in Ct. of Appeals
                     11/09/20-e-mail to P. Young re written discovery
                     11/23/20 review draft of written discovery
                     12/16/20 review e-mail from P. Young responding to requests for additional time to respond to written
                     discovery
                     01/12/21 pretrial conference has been continued for 90 days; written discovery is outstanding
                     02/01/21 review discovery responses and requests; t/c P. Young
                     02/24/21-pretrial conference rescheduled for 4/16/21
                     02/25/21 responses for request for admissions sent to Mr. Spragens
                     03/02/21-email and mailed to P. Young- plaintiff's responses to first and second set of written discovery
                     03/03/21-motion for stay of all discovery; hearing is 4/7/21 at 11am
                     03/12/21-prep of letter to BK Clerk for certified copies
                     03/17/21-t/c S. Lefkovitz re funds collected in state court receivership
                     03/28/21- response to motion to stay filed
                     04/02/21- discuss tax filing requirements with L.Williams
                     04/02/21- t/c P. Young re upcoming hearing on motion to stay discovery in adversary proceeding
                     04/07/21-motion to stay discovery is granted in part; discovery is stayed at least through 5/26/21. Hearing set
                     for 5/26/21
                     04/07/21-pretrial conference continued to 5/26/21
                     05/18/21-prep of motions to disallow claim 3, 4, and 6
                     05/18/21-claim 1 was withdrawn
                     05/19/21-review draft settlement agreement re claim 5; e-mail proposed changes to P. Young
                     05/26/21-order further staying discovery and continuing pretrial to July 21, 21 filed
                     06/14/21 t/c P. Young to discuss claim 6( R. McCarthy) and discussions with atty re claim 3;discuss
                     attorney's liens
                     06/17/21-response to objection to claim # 3 and #4 filed by Phillip North; hearing will be held 6/25/21 at 11
                     am.
                     06/21/21-t/c P. Young to discuss objection filed by P. North and other case matters
                     06/22/21-motion to continue hearing on TE objection to claims 3 and 4 to on or after July 15, 2021 filed by P.
                     Young
                     06/24/21-hearing on objection to claims 3 and 4 reset to July 21, 2021
                     06/29/21-notice of extension of time to respond to objection to claim 6 (extended to 7/19/21)
                     07/06/21-motion for comp/settle filed re: claim 5
                     07/13/21-review draft of settlement agreement (McCarthy) and discuss same with P. Young. Review email
                     from C. Gabbert re: Chase settlement and discuss with P. Young
                     07/19/21t/c P. Young re claim objections/settlements and upcoming hearing on discovery and ptc in
            Case 3:19-bk-07235        Doc
                     adversary; discuss       239
                                          other      Filed 04/24/25 Entered 04/24/25 19:29:43 Desc Main
                                                case matters
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                                                     Asset Cases
Case No.:   19-07235                                                    Trustee Name:      (620290) Jeanne Ann Burton
Case Name:     CUMMINGS MANOOKIAN, PLLC                                 Date Filed (f) or Converted (c): 11/06/2019 (f)
                                                                        § 341(a) Meeting Date:    12/02/2019
For Period Ending:     03/31/2025                                       Claims Bar Date:     04/01/2020

                     07/19/21-a/o resolving TE objection to claim 3 & 4 filed
                     07/20/21-a/o resolving TE objection to claim 6 filed
                     07/20/21-emergency motion to continue pretrial in adv. filed; a/o entered; pretrial will be continued until
                     8/11/21 at 11am
                     07/27/21 review status report request from state supreme court
                     07/27/21-objection to motion for comp/settle filed by J. Spragens for Manookian PLLC and B. Manookian;
                     hearing is 8/11/21 at 11am;objection also filed by creditor Konvilenka
                     07/28/21 review charging order re state court action(Phillip North)
                     07/29/21 file notice of status of bk case with TN Supreme Court
                     08/04/21 orders regarding claims 3, 4 and 6 entered.
                     08/09/21-hearing on objections to motion for comp/settle continued until 9/17/21 at 11 am.
                     08/09/21-pretrial in Adversary continued until 9/17/21 at 11 am.
                     09/01/21-t/c P. Young re upcoming hearing on objections to motion for comp and settle
                     09/13/21-review drafts of responses to objections to motion for comp and settle; t/c P. Young to discuss;
                     review final drafts
                     09/14/21-TE response to objection of Grant, Konvalinka & Harrison, PC to motion for comp/settle filed
                     09/14/21-TE response to B. Manookain objection to proposed Chase claim and settlement filed
                     09/15/21-TE exhibit and witness list for hearing on TE motion for comp and settle filed
                     09/15/21-B. Manookian's exhibit and witness list for TE motion for comp/settle filed
                     09/17/21-hearing continued to 9/29/21 at 1pm
                     09/23/21- review and discuss motion to approve participation of P. Young at 9/29/hearing and motion re
                     standing
                     09/24/21-motion to strike B. Manookian's objection and to preclude his participation in the 9/29/21 hearing
                     09/24/21 review order re hearing entered by Judge Walker
                     09/24/21 review revised proffer re Trustee testimony
                     09/27/21-response to TE motion to strike B. Manookian's objection
                     09/29/21- attend hearing on Trustee's motion to approve comp and settle; objections thereto and motion re
                     standing of B. Manookian
                     09/30/21-review proposed order re Sept 29 hearing
                     10/01/21-order granting motion for comp/settle and finding B. Manookian lacks standing entered
                     10/05/21-review e-mails and order re state court proceeding in Chase v Stewart;Debtor not party to that
                     action
                     10/14/21-notice of appeal and statement of election to District Court filed by J. Spragens
                     10/20/21-review response to motion/order setting ptc; review e-mail from P. Young re ptc
                     10/28/21-statement of issues on appeal filed by J. Spragens;discuss this and other case matters w/P. Young
                     11/02/21-review meet and confer letters re discovery after discussing with P. Young
                     11/04/21-t/c P. Young re case matters
                     11/22/21-prepare and send letter to state court clerk as requested re contact information and upcoming
                     hearing
                     12/17/21-t/c P. Young re discovery requests from Hagh Law; letter re atty fee lien in ShVa( Asset #13)case
                     from C. Gabbert; motions to compel discovery and appeals brief
                     12/20/20- review final draft of appellee brief in appeal by B. Mannokian
                     12/20/21-motion to compel discovery from Manookian, PLLC , Hagh Law, PLLC and Afsoon Hagh filed
                     12/22/21-hearing on motion to compel is 1/5/22 at 11am
                     12/23/21-a/o to continue hearing to 2/2/22 filed
                     01/03/22-t/c P. Young re subpoenas and a/r matters (ShVa( Asset #13)case)
                     01/07/22-review response to subpoena (privilege log);e-mail P. Young re same
                     01/14/22- t/c P. Young re McCarthy subpoena response and other subpoena matters; other discovery issues;
                     discuss appeal of comp and settle;discuss ShVa( Asset #13)case fee issues
                     01/18/22-review state court order re sealed documents and granting motion for stay pending outcome of the
                     appeal of the settlement with creditor Chase
                     01/18/22 review e-mail re fee matters in ShVa( Asset #13)case
                     01/19/22-Manookian PLLC motion to compel responses to interogs filed; hearing is 2/16/22
                     01/24/22-1/27/22 review, discuss and revise discovery responses to Hagh Law in adversary proceeding
                     01/27/22 final review of attachments to production of documents;e-mail P. Young re same
                     01/28/22-discuss proposed protective order with P. Young
                     01/31/22-review motion to compel to Mr. Fitzgerald re subpoena; t/c P. Young upon receipt of e-mail from C.
                     Gabbert re protective order and discovery
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                     01/31/22-hearingDoc     239 to compel
                                         on motion     Filed 04/24/25         Entered
                                                              Fitzgerald is 2/16/22;     04/24/25
                                                                                     hearing on motion19:29:43        Desc to
                                                                                                       to compel continued   Main
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                                                     Asset Cases
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                     2/16/22; pretrial hearing continued to 2/16/22
                     02/02/22-protective order entered
                     02/09/22-TE response to Manookian PLLC motion to compel filed
                     02/14/22-revised protective order entered
                     02/16/22-submitted order continuing hearings and pretrial conference filed; hearings rescheduled for 3/17/22
                     03/02/22-t/c P. Young re discovery issues, review e-mails from C. Gabbert and J. Spragens
                     03/07/22-District ct order entered vacating bk court order re legal standard applied re standing in Chase
                     settlement matter
                     03/09/22- review protective order (with Manookian PLLC)
                     03/10-3/11/22-review amended discovery responses after discussion with P. Young; e-mails to P. Young re
                     same
                     03/13/22-review e-mails to J. Spragens and C. Gabbert re amended discovery responses
                     03/15/22-review state court order denying Hammervold motion for summary judgment re Chase party
                     matters; judge's order says he needs to hear all facts from live witnesses
                     03/15/22-prehearing status report filed re: 3/17/22 hearing
                     03/17/22- attend hearing on motions to compel
                     03/18/22- copy of cd of hearing requested
                     03/22/22- discuss complaint filed by B. Cummings with P. Young
                     03/25/22-notice regarding motions to compel order filed; submitted expedited order to compel discovery
                     responses
                     03/28/22- order regarding discovery entered
                     04/4/22-4/19/22 review State of Tennessee Dept of Revenue notice of levy to Metropolitan Bank; T/C L.
                     Williams, accountant re state notice of levy; send copy of bk notice to L. Williams who provided to collection
                     agent; awaiting response; subsequent t/c and e-mails with L. McCloud and B. McCormick, Senior Assistant
                     Attorney Generals, Bankruptcy Division to have the lien released before the levy date and to avoid motion to
                     quash and for sanctions; levy was released before deadline for bank to send funds to the Dept of Revenue ;
                     Department of Revenue has filed a proof of claim
                     04/11/22-expedited motion to schedule pretrial conference on or before 4/15/2022and to continue depositions
                     filed
                     04/14/22-order re: discovery matters and denying expedited motion for pretrial conference and cont. of
                     depositions
                     04/20/22-4/21/22- Defendants' depositions of Trustee and P. Young
                     04/25/22-review notices of deposition for B. Manookian and A. Hagh; make notes; e-mail to P. Young ;t/c P.
                     Young re changes to notice of deposition and discuss other case matters; review changes and reply to P.
                     Young
                     04/29/22-agreed order rescheduling deposition of A. Hagh and Hagh Law, PLLC
                     05/05/22-notice of depo of R. McCarthy, B. Cummings and M. Fitzgerald
                     05/05/22-motion to recuse Judge Walker filed by J. Spragens; order scheduling response date 5/27/22 and
                     hearing 6/29/22 at 1pm
                     05/10/22-Trustee attended deposition of B. Manookian
                     05/18/22-Trustee attended deposition of A. Hagh
                     05/19/22-motion to continue depositions and reset deadlines filed; order submitted filed by C. Gabbert
                     05/25/22-expedited motion to set telephonic hearing on motion to continue depositions filed by C. Gabbert
                     05/25/22-expedited order on motion to set telephonic hearing at 1pm 5/25/22
                     05/27/22-response to Manookians's motion to disqualify Bankruptcy Judge filed by C. Gabbert
                     05/27/22-Plaintiff's response to Manookian motion to disqualify Bankruptcy Judge filed
                     05/31/22-notice of deposition of Judge Walker filed by J. Spragens
                     06/01/22-order quashing deposition of Judge Walker entered
                     06/02/22-revised notice of deposition of Ronette McCarthy filed
                     06/03/22-revised notice of deposition of Brian Cummings filed
                     06/06/22-amended notice of deposition of Marty Fitzgerald filed
                     06/14/22-B. Manookian filed notice of appeal (in District Court)and statement of election re: order quashing
                     notice of deposition of Judge Walker (DE 178)
                     06/20/22-TC P. Young re Fitzgerald subpoena; review e-mail to J. Spragens re same
                     06/21/22 review reply from J. Spragens;discuss with P. Young
                     06/22/22-review e-mail from P. Young to J. Spragens re cancellation of deposition upon Fitzgerald objection
                     communicated by J. Spragens
                     06/24/22-motion for summary judgment and memorandum filed by J. Spragens
            Case 3:19-bk-07235         Doc re
                     06/27/22-t/c P. Young   239     Filed
                                                upcoming     04/24/25
                                                          hearing, discoveryEntered
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                                                     Asset Cases
Case No.:   19-07235                                                      Trustee Name:      (620290) Jeanne Ann Burton
Case Name:     CUMMINGS MANOOKIAN, PLLC                                   Date Filed (f) or Converted (c): 11/06/2019 (f)
                                                                          § 341(a) Meeting Date:    12/02/2019
For Period Ending:     03/31/2025                                         Claims Bar Date:     04/01/2020

                     06/28/22-expedited motion/order setting status conference; pretrial conference is 7/13/22 at 11am
                     06/29/22-appellants statement of issues on appeal and designation of record filed by J. Spragens
                     06/30/22-notice re: dep of M. Fitzgerald filed
                     06/30/22-withdraw motion for status conference
                     07/18/22-review defendants' motion re summary judgment and response
                     07/22/22- motion to compel deposition and motion to stay deadline filed; response filed on 7/28/22 by J.
                     Spragens; Plaintiff filed response on 7/28/22
                     07/25/22-order denying mfsj by defendants entered
                     08/04/22- t/c P. Young to discuss case matters and appeals
                     08/31/22-review draft of Trustee's brief in appeal to District Court of Judge Walker's order to quash subpoena
                     for his deposition; discuss proposed changes with P. Young.
                     09/06/22 appeal brief has been filed
                     10/18/22 review state court order of settlement between Chase Parties and M. Hammervold; review 2
                     subpoenas issued by B. Manookian to M. Hammervold re same
                     10/31/22- review Chase and Mr. Manookian's status updates to state court re staus of bk court proceeding
                     11/01/22- appeal of order quashing notice of deposition of Judge Walker still pending
                     12/01/22- appeal still pending
                     01/19/23-appeal still pending-review reply e-mail from L. Williams re no tax return required to be filed for 22
                     02/07/23-t/c P. Young re status of pending matters
                     02/12/23-review district court order denying appeal re subpoena
                     03/08/23-t/c P. Young re case matters and appeal deadline; discuss district court order regarding Cummings
                     lawsuit being transferred to Bankruptcy Court
                     03/10/23-Court has set hearing on motion to disqualify judge for March 28, 2023
                     03/14/23 t/c P. Young to discuss upcoming hearing-in person on 3/28/23; Cummings lawsuit has been
                     transferred and the complaint has been filed.
                     03/28/23-hearing on motion to disqualify judge continued to 4/4/23 at 8am.
                     04/04/23- attend hearing on motion to disqualify judge; motion was denied; Judge Walker to set hearing on
                     adversary matters
                     04/11/23 -Trustee's motion to continue hearing set for 5/25/23 filed; motion to schedule ptc filed
                     4/19/23- Notice of Appeal filed by defendants -order denying motion to recuse judge
                     05/05/23; review draft of motion to dismiss appeal of order denying motion to recuse judge for failure to
                     comply with Bk Rule 8009 and District Court LBR 81.01; t/c P. Young to discuss matter and proposed
                     changes
                     05/30/23-review appellants brief filed re appeal of recusal order
                     06/22/23-review draft of appellees brief; t/c to discuss with P. Young; review revised draft
                     07/02/23-review e-mail with attached motion to continue the trial and motion for summary judgment in the
                     Chase state matter and set a status conference
                     07/11/23-t/c to P. Young re case matters
                     07/25/23-T/C P. Young re response to BM renewed objection to settlement agreement with Chase parties
                     07/26/23-review draft of Trustee's response and reply to P. Young
                     08/01/23 review e-mails re w/d of motion for summary judgment by B. Manookian in the state court Chase
                     matter
                     08/02/23- review notice and proposed order of dismissal of the state court Chase matter-against B.
                     Manookian, individually
                     08/03/23-23-ap-90036-review B. Cummings response to motion to dismiss
                     08/15/23- t/c P. Young to discuss witness and exhibit list for upcoming hearing on Aug 30 in the main case
                     08/21/23-t/c P. Young re witness and exhibit list filed by BM and discuss other case matters
                     08/23/23-review motion to disqualify Judge Walker filed in main case
                     08/28/23-review order denying motion to disqualify; matter appealed to District Court
                     08/30/23- attend hearing on motion to dismiss in Cummings matter and motion re standing of BM and Chase
                     settlement motion(not heard b/c of pending appeal)
                     09/21/23- send status report of bk case to C. Malone
                     10/20/23 t/c P. Young re case matters and briefing schedule in appealed matters
                     10/27/23-review draft of brief re appeal of denial of motion to recuse in the main case; discuss with P. Young;
                     review revisions
                     11/22/23-t/c P. Young re status of appeals and upcoming briefing deadlines(Cummings matter)
                     12/21/23-review draft of Appellee brief re Cummings/arbitration; t/c P. Young to discuss same
                     12/26/23-revew brief filed by B. Cummings
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                     1/10/24-e-mail P.Doc
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                                                     Asset Cases
Case No.:   19-07235                                                         Trustee Name:      (620290) Jeanne Ann Burton
Case Name:     CUMMINGS MANOOKIAN, PLLC                                      Date Filed (f) or Converted (c): 11/06/2019 (f)
                                                                             § 341(a) Meeting Date:    12/02/2019
For Period Ending:     03/31/2025                                            Claims Bar Date:     04/01/2020

                           02/05/24-t/c P. Young to discuss Judge Walker's order(s) setting scheduling conference and status hearing in
                           the main case and status conference in adversary case for 2/7/24 at 11AM
                           02/07/24- attend hearing
                           02/09/24 review orders approving compromise and settlement of Chase claim and order finding that B.
                           Manookian lacked standing to object.
                           02/16/24-t/c P. Young re appeal to 6th Circuit on recusal matter and discuss mediation notice
                           02/23/24-orders re settlement and standing appealed to District Court
                           02/25/24-t/c P. Young re t/c with mediator re 6th Circuit appeal- mediation would be of the entire adversary
                           proceeding
                           03/02/24- review drafts of mediation statements due in 6th circuit appeal; discuss with P. Young
                           03/11/24-mediation to be cancelled -mediator has not spoken with Mr. Spragens
                           03/14/24-review show cause order to B Manookian from 6th Circuit in one of the appeals
                           03/14/24-review draft of motion to dismiss untimely appeal in District Court; discuss with P. Young
                           03/25/24- review e-mail from P. Young re mediation in 6th Circuit matter; discuss with P. Young
                           04/01/24 t/c with P. Young to discuss mediation in 6th Circuit matter
                           04/2/24- review scheduling order in District Court; t/c P Young re same
                           04/05/24- mediation in 6th Circuit set for 4/17/24;start preparation for mediation
                           04/17/24-participate in mediation; resumes 5/14/24
                           05/14/24- participate in mediation; no resolution
                           06/01/04 -review B. Manookian's response to show cause order and motion for voluntary dismissal re main
                           case and appellants brief regarding the adversary case(6th Circuit)
                           06/06/24-review draft of Trustee's reply to B. Manookian's response to Trustee's motion to dismiss untimely
                           appeal filed in District Court; e-mail to P. Young re same; t/c P. Young to discuss status of appeals and when
                           our 6th Circuit brief is due
                           06/17/24-t/c P. Young re district court order denying appeal Cummings adversary (can proceed in bk court)
                           06/27/24- t/c P. Young re draft of brief in 6th Circuit appeal
                           08/20/24-t/c P. Young re mediation in 6th Circuit on Cummings adversary
                           08/29/24-participate in mediation in 6th Circuit on Cummings adversary
                           09/17/24t/c P. Young to discuss case matters
                           10/15/24-District Court order entered granting Trustee's motion of untimely appeal of BK court order that B.
                           Manookian lacked standing to object to Trustee's motion for comp and settlement of the Chase claim and
                           order granting the Trustee's motion to approve the settlement of the Chase claim; no appeal to Sixth Circuit
                           so the settlement is approved
                           11/07/24-review draft of debtor's appeal brief in Cummings matter
                           11/08/24-t/c P. Young to discuss debtor's appeal brief in Cummings matter (6th Circuit)
                           12/9/24- matters still pending- motions to recuse Judge Walker (6th Circuit) and Cummings matter (6th
                           Circuit)
                           12/23/04-review 6th Circuit order denying motion to recuse Judge Walker
                           1/27/25-review draft of motion to set status conference after discussing case matters with P. Young
                           01/30/25-order setting status conference for March 5 has been entered
                           03/3/05-Motion to continue status conf filed by J. Spragens; trustee filed response; Court entered order
                           denying the motion
                           03/10/25- Order to continue status conf set for April 23,2024-order to show cause to J. Spragens(response
                           date is 3/25/25)
                           arguments in 6th Circuit on Cummings adv set for March 18, 2025
                           03/25/25-review drafts of subpoenas and letters re outstanding discovery
                           04/10/25-prepare for subpoena/deposition of Ms. Fitzgerald
                           PTC SET FOR 4/23/25
                           04/15/25-review draft of status report to be filed before PTC after discussion with P. Young
                           4/16/25 attend zoom depo of Ms. Fitzgerald




Initial Projected Date Of Final Report (TFR): 12/31/2020             Current Projected Date Of Final Report (TFR):   03/31/2026
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